       Case 2:19-cv-14666-SM-JVM Document 14 Filed 12/20/19 Page 1 of 2



                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUSIANA

E.N. BISSO & SON, INC.                                 CIVIL ACTION NO.: 2:19-cv-14666
                                                       Admiralty – Rule 9(h)
VERSUS
                                                       SECTION E | DIVISION 1
M/V DONNA J. BOUCHARD, her tackle,
furniture, apparel, appurtenances, etc., in rem, and   JUDGE MORGAN
the Barge B. No. 272, her tackle, furniture apparel,
appurtenances, etc. in rem, and BOUCHARD               MAGISTRATE VAN MEERVELD
TRANSPORTATION, CO., INC. in personam

          UNCONTESTED MOTION FOR LEAVE TO FILE INTERVENTION

       NOW INTO COURT, through undersigned counsel, comes Intervenors, Crescent Towing

& Salvage Co., Inc. (“Crescent”) and Cooper/T. Smith Mooring Co., Inc. (“CTS Mooring”), who

respectfully move this Honorable Court for an Order authorizing the filing of an Intervention in

the above-referenced matter on showing to the Court that E.N. Bisso & Son, Inc. have filed a

Complaint under Rule C of the Supplemental Rules for Admiralty and Maritime Claims and Asset

Forfeiture Actions requesting an in rem arrest of the Barge B. No. 272 to enforce their maritime

lien against the vessel for support and towage services provided to the vessel. Intervenor, Crescent

provided towing services and necessaries, for which it has not been paid, to the same vessel within

the Eastern District of Louisiana. Additionally, CTS Mooring provided mooring services and

necessaries, for which it has not been paid, to the same vessel within the Eastern District of

Louisiana. Thus, both Crescent and CTS Mooring likewise have a maritime lien against the Barge

B. No. 272 pursuant to the Federal Maritime Lien Act, 46 U.S.C. §31341, et seq. and seek to arrest

the vessel under Rule C of the of the Supplemental Rules for Admiralty and Maritime Claims and

Asset Forfeiture Actions. All counsel of record has been contacted by undersigned counsel and

there has been no objection to the filing of this Motion for Leave to File Intervention.
       Case 2:19-cv-14666-SM-JVM Document 14 Filed 12/20/19 Page 2 of 2



       WHEREFORE, Crescent Towing & Salvage Co., Inc. and Cooper/T. Smith Mooring Co.,

Inc. pray that this Court grant leave to allow them to intervene in the above-referenced matter to

assert their maritime lien against the Barge B. No. 272 in rem.

                                                     Respectfully submitted:

                                                     SALLEY HITE MERCER & RESOR, LLC

                                                     /s/ Kevin Frey
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                                                     Counsel for Intervenors, Crescent Towing &
                                                     Salvage Co., Inc. and Cooper/T. Smith
                                                     Mooring Co., Inc.


                                CERTIFICATE OF SERVICE

        I hereby certify that on December 20, 2019, I electronically filed the foregoing pleading
with the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing
to all persons electronically noticed.

                                         /s/ Kevin Frey
                                        KEVIN M. FREY
